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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

   STATE OF MISSOURI, et ai.,

                Intervenor Plaintiffs.

   Vv.

                                                                    2:22-CV-223-Z
   U.S. FOOD AND DRUG
   ADMINISTRATION,            et al.,

                Defendants,

   and

   DANCO LABORATORIES, LLC,

                Intervenor Defendant.


                                                      ORDER

          Before the Court is GenBioPro, Inc.’s Motion for Leave to Proceed Without Local Counsel

  (“Motion”) (ECF No. 231), filed February 25, 2025. GenBioPro “moves the Court under Local

  Rule 83.10(a) to waive the requirement to obtain local counsel” because its counsel is in Houston,

  Texas, and “is familiar with the Local Rules of this Court and available to attend hearings called

  by the Court on short notice.” ECF No. 231 at 1. GenBioPro correctly notes that this Court has

  freely granted waivers to proceed without local counsel to other parties and amici in this case. See

  ECF    No.   94. Accordingly,         the Court   GRANTS    the Motion   and waives    the local   counsel

  requirement for GenBioPro, Inc.
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                                                feet
        SO ORDERED.

        February 4,    2025


                                               ITED St J. KACSMARYK
                                                 I TED STATES DISTRICT JUDGE
